











Opinion issued July 7, 2010
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;












In The
Court of Appeals
For The
First District of Texas




NO. 01-10-00493-CV




IN RE ARTIS CHARLES HARRELL, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINION 




By petition for writ of mandamus, relator, Artis Charles Harrell, seeks
mandamus relief compelling the trial court to rule on several motions.                  
We deny the petition for writ of mandamus. 
&nbsp;
Per Curiam&nbsp;
&nbsp;
Panel consists of Justices Jennings, Alcala, and Massengale.



